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    THE BENDAU LAW FIRM, PLLC




                     Exhibit A
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                                     AGREEMENT AND GENERAL RELEASE

                    This Agreement and General Release ("Agreement") is made by, betweer!
            and among Edmond Olloni, Fitor Rizvanolli, Bradley Voris, Terence Nowak,
            William Lyne, and David Zaknoun (collectively, the "Plaintiffs") and Sydney
            Rose, Inc., Maureen Brown, and Garry Horowitz (collectively, the "Defendants").
            The Plaintiffs and Defendants are referred to here collectively as the "Parties" to
            this Agreement.

                                                          RECITALS

                   WHEREA$ Plaintiffs filed a lawsuit against the Defendants captioned
            Voris et aL a. Sydney Rose,lnc., et aI., in the United States District Court in and for
            the District of Arizona bearing the Case Number CV-15-02054-PHX-SMM, and
            the Court later determined that all Plaintiffs were misjoined and Plaintiffs Olloni
            and Rizvanolli filed a lawsuit against Defendants captioned Olloni et aL a. Sydney
            Rose, lnc., et aI,. in the United States District Court in and for the District of
            Arizona bearing the Case Number CV-L6-02654-PHX-SMM (collectively, the
            "Action") alleging that the Defendants are liable for, among other things, unpaid
            minimum wage, overtime premium pay, liquidated damages, penalties,
            attorneys' fees andlor interest under the Fair Labor Standards Act ("FLSA"), 29
            U.S.C. S 201 et seq., and Arizona law and its implementing regulations, all of
            which Defendants have from the outset denied and continue to deny; and

                    WHEREAS, the Parties have considered that the interests of all concerned
            are best served by compromise, settlement, and the dismissal of the Action                     with
            prejudice, and have concluded that the terms of this Agreement are fafu,
            reasonable, adequate, and in their mutual best interes| and

                    WHEREAS, to the extent there may be monies owed to Plaintiffs under the
            FLSA and/or Arizona law, the Parties acknowledge there is a genuine good faith
            dispute over, among other things, the number of hours worked by the Plaintiffs;
            and


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                     WHEREAS, the Parties have engaged                     in settlement negotiations and   as a
            result have agreed to settle the issues, matters, and things in dispute among them
            in the Action pursuant to the terms of this Agreemenf and

                 NOW, THEREFORE, in consideration of the mutual terms, conditions, and
            covenants set forth, the Parties hereto agree as follows:

                     1.   Settlement: The Parties acknowledge and agree that this Agreement
            and the consideration provided have been and are made and received solely on
            the basis of a compromise of disputed claims, and that this Agreement is not, and
            should not be construed as,, an admission by the Defendants of any liability or
            wrongdoing whatsoever, nor is it, nor shall it be construed as, an admission of
            any act or fact whatsoever, including but not limited to any violation of federal,
            state, local or common law, stafute, ordinance, directive, regulation or other
            (including executive orders).

                     2.   Payment to the Plaintiffs: In return for the good and sufficient
             consideration set forth hereiry the Parties agree to the following:

                     A.      The Defendants, through Sydney Rose, Inc., shall puy the Plaintiffs
             and their counsel a total gross sum of fifty-four thousand dollars ($54,000.00) in
             the manner set forth below:

                     B.      Each individual Plaintiff  will be issued two checks by the Defendant
             Sydney Rose, Inc.          in   the amounts itemized in Paragraphs B(t) (6) and
            Defendant Sydney Rose, Inc. will issue Internal Revenue Service forms W-2 and
            L099 to each Plaintiff for the payments issued to him as follows:

                             1,.
                               Two checks shall be made payable to Edmond Olloni. The
            first check shall be made payable to Edmond Olloni for payment of unpaid
            wages owed to him, shall be in the amount of $3,000.00 less applicable
            withholdings and taxes, and that payment shall be reflected on aW-2IRS form
            provided to Edmond Olloni by Defendant Sydney Rose, Inc. The second check
            shall be made payable to Edmond Olloni for liquidated damages owed to him,
            shall be in the amount of $3,000.00, and shall be reflected on a 1099 IRS form
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               "other income [box 3]" provided to Edmond Olloni by Defendant Sydney Rose,
               Inc.

                                    2.
                                  Two checks shall be made payable to Fitor Rizvanolli. The
               first check shall be made payable to Fitor Rizvanolli for payment of unpaid
               wages owed to him, shall be in the amount of $3,000.00 less applicable
               withholdings and taxes, and that payment shall be reflected on aW-2IRS form
               provided to Fitor Rizvanolli by Defendant Sydney Rose, Inc. The second check
               shall be made payable to Fitor Rizvanolli for liquidated damages owed to him,
               shall be in the amount of $3,000.00, and shall be reflected on a'1.099 IRS form
               "other income [box 3]" provided to Fitor Rizvanolli by Defendant Sydney Rose,
               Inc.

                                    3.
                                Two checks shall be made payable to Bradley Voris. The first
              check shall be made payable to Bradley Voris for payment of unpaid wages
              owed to him, shall be in the amount of $3,000.00 less applicable withholdings
              and taxes, and that payment shall be reflected on a W-2IRS form provided to
              Bradley Voris by Defendant Sydney Rose, Inc. The second check shall be made
              payable to Bradley Voris for liquidated damages owed to him, shall be in the
              amount of $3,000.00, and shall be reflected on a L099 IRS form "other income
              [box 3]" provided to Bradley Voris by Defendant Sydney Rose, Inc.

                                    4.
                                 Two checks shall be made payable to Terence Nowak. The
              first check shall be made payable to Terence Nowak for payment of unpaid
              wages owed to him, shall be in the amount of $3,000.00 less applicable
              withholdings and taxes, and that payment shall be reflected on aW-2IRS form
              provided to Terence Nowak by Defendant Sydney Rose, Inc. The second check
              shall be made payable to Terence Nowak for liquidated damages owed to him,
              shall be in the amount of $3,000.00, and shall be reflected on a 1,099 IRS form
              "other income [box 3]" provided to Terence Nowak by Defendant Sydney Rose,
              Inc.




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                                    5.
                                Two checks shall be made payable to William Lyne. The first
              check shall be made payable to William Lyne for payment of unpaid wages
              owed to him, shall be in the amount of $3,000.00 less applicable withholdings
              and taxes, and that payment shall be reflected on a W-2IRS form provided to
              William Lyne by Defendant Sydney Rose, Inc. The second check shall be made
              payable to William Lyne for liquidated damages owed to him, shall be in the
              amount of $3,000.00, and shall be reflected on a 1.099 IRS form "other income
              [box 3]" provided to William Lyne by Defendant Sydney Rose, Inc.

                                    6.
                                 Two checks shall be made payable to David Zaknoun. The
              first check shall be made payable to David Zaknoun for payment of unpaid
              wages owed to him, shall be in the amount of $3,000.00 less applicable
              withholdings and taxes, and that payment shall be reflected on aW-2IRS form
              provided to David Zaknoun by Defendant Sydney Rose, Inc. The second check
              shall be made payable to David Zaknoun for liquidated damages owed to him,
              shall be in the amount of $3,000.00, and shall be reflected on a 1099 IRS form
              "other income [box 3]" provided to David Zaknoun by Defendant Sydney Rose,
              Inc.

                               C.
                        The thirteenth check shall be made payable to "Bendau & Bendau
             PLLC," Plaintiffs' counsel, as and for attorneys' fees and costs and shall be in the
             amount of $18,000.00. Defendant Sydney Rose, Inc. shall issue to Plaintiffs'
             counsel an appropriate IRS form 1,099 in relation to this payment "gross
             proceeds paid to attorney lbox 14f." Plaintiffs' counsel agrees to provide a fully
             executed IRS form W-9 prior to and in relation to this payment. Plaintiffs
             acknowledge that they have expressly authorized and directed Defendants to
             make this payment as described to Bendau & Bendau PLLC. No monies shall be
             withheld from this payment to Bendau & Bendau PLLC.

                               D. The Parties agreement that the thirteen checks identified in
             Paragraph 2(A)-(C) will be sent by mail to Bendau & Bendau PLLC, P.O. Box
             97066, Phoenix, AZ 85060 within fourteen (14) days of the execution of this



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             Agreement. Plaintiffs' counsel will not distribute any of the thirteen                      checks
             identified in 2(A)-(C) until the Court's approval of this Agreement.

                              E.
                         Plaintiffs and Plaintiffs' counsel are solely responsible for complying
             with any and all taxing obligations arising from receipt of their respective
             portions of the Settlement Amount. Plaintiffs hereby indemnify Defendants
             from any and all obligations with respect to taxes that may be due on the
             liquidated damages and attorneys' fees and costs portion of the Settlement
             Amounts.

                              3.   General Release and Waiver of Rights and Claims by the Plaintiffs:

             In return for the consideration described above, Plaintiffs unconditionally release
             and forever discharge Defendants, their agents, employees, successors, and
             assigns, and all affiliated business entities, both individually and in their official
             capacities, from any and all claims, causes of action, suits, back-wages, benefits,
             attorneys' fees, pain and suffering, debts, dues, sums of monep accounts,
             reckonings, bonds, bills, specialties, covenants, contracts, controversies,
             agreements, promises, variances, trespasses, damages, judgments, extents,
             executions, claims, charges, complaints and demands whatsoever, in law, or
             equity, of any and every kind, nature and character, known or unknown, which
             against Defendants, their heirs, executors, administrators, agents, successors, and
             assigns, ever had,            frdy now have or hereafter can, shall or may have, arising
             under any federal, state or local, wage-hour, or labor laws and/or regulations, or
             contract from the beginning of time to the date this Agreement is executed by the
             Parties, including, but not limited to:

                    A.  all claims under The Fair Labor Standards Act, 29 U.S.C. $ 201, et
            seq.; the Equal Pay Act, 29 U.S.C. $ 206; the Employee Retirement Income
            Security Act of 1974, as amended, 29 U.S.C. S 1001 et seq.; Arizona Law; any
            amendments to the stafutes referred to herein; sales commissions earned or
             accrued, whether as an employee or independent contractory any costs, damages,
            interesf liquidated damages or attorneys' fees relating to any such alleged
            violation; alleged unpaid wages, salary, or overtime compensation; employee
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             classification; exempt classification; "at-will" classification; and any claims
             relating to procurement of customers, sub-agents, business, finder's fees, or any
             other asserted basis for additional remuneration or other rewards; and any other
             federal, state or local law relating to employee wages and hours;


                              B.
                           all claims alleging breach of promise, breach of contract or implied
             contract; fraud; misrepresentation; fraudulent inducemenf promissory estoppel;
             unjust enrichmenf quantum meruif conversion; defamation; or otherwise
             arising under any common law theory or in tort, contract, or quasi-contract,
             whether in law or equity;


                              C. all    claims    for fringe benefits;         employee benefits; employee
             contributions; supplemental benefits; allowances; reimbursemen! participation
             in any benefit plan; administration or application of any benefit plan; and any
             claims for non-vested benefits arising under ERISA;


                              D.   all claims for payment of income and employment taxes.

                              4                     Except as specifically provided in this
             AgreemenU Plaintiffs agree that they are not entitled to any other payments for
             salary, benefits, wages, bonuses, allowances, compensatory time, severance pay,
            notice pay, vacation or holidays, accrued leave, paid leave, or any other form or
            kind of payment or compensation from the Defendants for any work they
            performed for Defendants during the relevant period as defined in the Action to
            the date the Parties execute this Agreement.

                              5.
                          Accord and Satisfaction: Should any proceeding be instituted by
            Plaintiffs with respect to matters here settled, released or waived pursuant to the
            Agreement, other than an action or proceeding to enforce the terms of the
            Agreement, this Agreement shall be deemed full accord, satisfaction and
            settlement of any such claim(s) and sufficient basis for immediate dismissal.



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                   6.      Dismissal of The Action:

                   A.      Plaintiffs promise and represent that they             will withdraw, with
           prejudice, df,y and all outstanding administrative complaints or charges alleging
           improper payment of wages, filed with federal, state and local agencies/
           administrative bodies and will also withdraw or discontinue with prejudice all
           judicial actions concerning improper payment of wages, including without
           limitatiorU the Actiory as well as any and all other lawsuits, claims,
           counterclaims, demands, appeals or actions concerning improper payment of
           wages pending against the parties they have released herein; and will not accept
           any money from or file any other currently existing internal or external
           administrative or judicial complaints, charges, lawsuits, claims, demands,
           appeals or actions of any kind based on Defendants' alleged improper payment
           of wages to the Plaintiffs during their employment by the Defendants through
           the date this Agreement and General Release is executed by the Parties.

                   B.      Payment of the Settlement Amount due under this Agreement is
           contingent upon the Court in the Action approving this Agreement.

                   C.   After payment pursuant to this Agreement is received by Plaintiffs'
           counsel, Plaintiffs, through counsel, shall execute a Stipulation of Dismissal with
           Prejudice and provide a signed copy of such to Michelle Swann, counsel for the
           Defendants.

                   D.      Bendau    & Bendau PLLC, as counsel for the plaintiffs, shall file                a
           fully-executed copy of the Stipulation of Dismissal with the Court.

                   E.      The Parties agree to use their best efforts to obtain the Court's
           approval of this Agreement and endorsement of the Stipulation of Dismissal.

                   7.      Entire Agreement: The Parties represent and acknowledge that they
           have carefully reviewed each and every word of this Agreement to ensure
           complete understanding of the Agreement's full effect and that it contains the
           entire understanding between them and that they are not relying upon any

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              representations or statements, written or oral, made by or on behalf of any Party
              not set forth herein.

                            8.
                         Plaintiffs' Consultation with Legal Counsel: Plaintiffs represent that
              they have been advised to consult legal counsel regarding this Agreement and
              General Release and have done so.

                            9.
                         Waiver and Modification: This Agreement and General Release may
              not be modified, altered or changed except upon express written consent of the
              Parties.

                            10.     Counterparts: This Agreement and General Release may be executed
              in counterparts, and by writter! electronic, or facsimile signature.

                            1.1.. Use of the Singular: Whenever used in this Agreement and General
              Release, the singular word shall include the plural, the                      plural the singular; and
              the use of any gender shall be applicable to all genders. This General Release
              shall not be interpreted in favor of, or against, either party because of such party
              having drafted this General Release.

                            12.     Governing Law: This Agreement and General Release shall be
              subject to and governed by the laws of the State of Arizona.



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                   13.    Severability Clause: If any term or provision of this Agreement and
           General Release, or the application thereof to any person or circumstance, shall
           to any extent be found invalid or unenforceable, the remainder of the Agreement
           and General Release, or the applications of such term or provisions to persons or
           circumstances other than to those as to which it is invalid or unenforceable, shall
           not be affected thereby, and each term and provision of this Agreement and
           General Release shall be valid and be enforced to the fullest extent permitted by
           law; provided, however, that upon finding by a court of competent jurisdiction
           or governmental agency that any of the releases provided for in Paragraph 3
           herein are illegal, void, or unenforceable, or not entered into knowingly and
           voluntarily or otherwise ineffective, Plaintiffs agree to promptly execute a
           release, waiver and/or covenant that is legal and enforceable to the Defendants.

                  IN WITNESS WHEREOF, Plaintiffs and Defendants hereunto set their
           hands this the _day           of October,2018.



           SYDNEY ROSE, INC.



           By: Garry Horowitz
           Its: Owner




           Maureen Brown                                         Garry Horowitz


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